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               IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION
                                                                  u
AUGUSTIN RUBIO-GARCIA,

        Petitioner,

V.                                             CASE NO. CV414-158
                                                        CR4 13-116
UNITED STATES OF AMERICA,

        Respondent.


                                 ORDER

        Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 14), to which an objection has been

filed (Doc. 16) . In his objections, Petitioner largely

repeats the same arguments as contained in his initial

petition. After a careful de novo review of the record, the

Court finds Petitioner's objections without merit.

Accordingly, the report and recommendation is               ADOPTED   as

the Court's opinion. As a result, Petitioner's 28 U.S.C. §

2255 Petition is DENIED.          The Clerk of Court is DIRECTED to

close this case.
                                 -"V day of October 2015.
        SO ORDERED this     22


                                      WILLIAM T. MOORE, J .
                                      UNITED STATES DISTR CT COURT
                                      SOUTHERN DISTRICT OF GEORGIA
